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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Civil Action No: l : 17-CV-O45()3-JMF

Robert Zimmerman,
Plaintiff,

V.

UBS AG,

UBS GROUP AG,

UBS Securities, LLC,

UBS Financial Services, Inc.,
UBS Americas Holding LLC,
Charles Schwab & Co., Inc.,

EY Global LLP,

Ernst & Young LLP and Ltd., and
Individual Defendants.

 

MEMORANDUM OF LAW IN OPPOSITI()N TO DEFENDANT’S
MOTIONS TO DISMISS

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INTRODUCTORY C()MMENTS

Plaintiff, Robert Zimmerman, respectfully submits this Opposition to l)efendant’s Motions to
Dismiss (“MTDS”) the First Amended Complaint (“FAC”). Plaintiff`s numerous incriminating
documents and fact-laden FAC demonstrate the incontrovertibly of Plaintist allegations and
Plaintiff’ s entitlement to relief. 0 Moreover, discovery will reveal a mountain of new forensic
evidence in support of Plaintiff’s already viable claims. For these and the reasons below, Plaintiff
requests that this Court deny the entirety of Defendant’s MTDs with prejudice 0 Also, with
regard to Schwab Defendants, as Plaintiff has previously pled, Schwab breached its boilerplate
Confidentiality Settlement Agreement (‘CSA”) by disclosing it to its newly hired attorneys who,
in turn, disclosed it to this Court and others. 0 Further, the CSA failed to cite the specifics of
what claims Plaintiff is alleged to have waived, which, along with Plaintiff"s prior pleadings on
this matter, form a sufficient basis for voiding the CSA and mandatory arbitration 0 Moreover,
FINRA is a sham regulatory agency that functions primarily as a trade association for the
securities industry, rehises to publish its ruling statistics and has by its failure to revoke UBS’s
business license has shamefully encouraged future UBS financial criminality and untoward

collusion with Schwab and other broker-dealers
()PENING STATEMENT

The supreme role of our government is the protection of our citizens from all forms of
hostilities, foreign and domestic, including, as here, financial terrorism. Plaintiff" s growing
mountain of document and expert witness evidence at trial will assure a positive jury verdict for

Plaintiff. So far, Plaintiff has not only pled cogent, compelling undisputed facts and allegations,

 

but has also submitted an extensive array of undisputed incriminating documents that support his

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every allegation and portray Defendants engaged in an elaborate financial scheme to
intentionally conceal serious financial crimes and many other material risk factors from the UBS
AG offering document for CEFL and therefore from Plaintiff with conscious, deceitful and
shameful recklessness that was instrumental in inducing Plaintiff to invest in the defective
security called CEFL, which investment led to his loss of a large chunk of his retirement savings.
After confessing to the commission of so many serious financial crimes it is grotesque that UBS
is still allowed to run rampant in the U.S. fleecing investors like me. 0 Defendants cite not a
single authority to support any of their hapless allegations and arguments, and have failed to
address any of Plaintiff’ s numerous well-documented allegations and undisputed facts, such as:
(1) UBS’s serious financial crimes, including LIBOR (the largest financial scam in history),
aggressively facilitating 52,000+ U.S. tax evaders, extensive money laundering and the rigging
foreign exchange and commodity metals markets; (2) that Defendants were aware of the non-
disclosure of the material risk factors; (3) that CEFL is a defective security; (4) that EY, a
kindred spirit with UBS in the tax evasion business, did not insist on UBS disclosing certain
seriously material risk factors in the offering document for CEFL; (5) that UBS committed all of
the serious crimes set out in the FAC and many others as yet undetected and possibly involving
political and drug cartel money laundering; (6) that UBS was serving a four-year term of
criminal probation and was and is under investigation by authorities foreign and domestic and
under threat of loss of license to conduct a securities business in the U.S. at the time it issued and
underwrote CEFL; (7) that EY was paid over a billion in fees for a series of undeserved
unqulified audit opinions from 2004 through 2017; (8) that UBS was under threat of loss of its
status as an eligible issuer when it issued and underwrote CEFL; (9) that UBS was engaged in an

elaborate scheme to defraud investors by issuing and underwriting numerous defective exchange

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traded notes (“ ETNs”) including CEFL; (10) that EY should have resigned instead of issuing
UBS undeserved unqualified audit opinions; (11) that if EY had not issued UBS undeserved
unqualified audit opinions, UBS could not have issued and underwrote CEFL and Plaintiff would
not have been defrauded; (12) that UBS and EY reaped enormous profits from UBS’s financial
crimes; (13) that no reasonable investor would purchase CEFL shares if first informed of UBS’s
serious financial crimes in the offering document for CEFL; (14) that UBS intentionally engaged
in activities that conflicted with the interests of CEFL shareholders; (15) that the UBS appointed
Calculation Agent and Index Sponsor for CEFL, with the approval of UBS executives, undertook
activities adverse to the shareholders of CEFL; (16) that UBS intentionally advertised a high
interest rate of return for CEFL to lure elderly investors to purchase CEFL shares; (17) that UBS
plea-bargained waivers of criminal prosecution from the DOJ and received cease and desist
orders from the SEC; (18) that UBS possesses the skills, resources, motive and opportunity to
manipulate CEFL for their own financial benefit and to the detriment of Plaintiff; (19) that UBS
has bragged that they have committed numerous serious financial crimes and will likely commit
more crimes; (20) that UBS has bragged that it is beyond the reach of U.S. law courts; (21) that
UBS created its ETNs to reap tens of billions in profits at the expense of unsuspecting, mostly
elderly investors; (22) that the purchase of a UBS ETN = a loan to UBS they have no intent to
repay; (23) that the UBS-created ETN’s were designed to induce elderly and other investors with
the promise of high dividends when near interest rates prevail; and (24) that UBS is seriously

infected with a cult of financial criminality.

o The UBS/EY Scheme to Defraud lnvestors: With the issuance of numerous ETNS,
including CEFL, UBS, and its hired gun EY, launched a devious scheme of financial terrorism to

defraud elderly and other investors, including Plaintiff. Defendants have engaged in an
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inexplicable dance choreographed by high-profile law firms and lobbyists to compromise the
SEC and the DOJ, thus degrading the rule of law and corrupting our democracy. ln its l\/ITD EY
audaciously claims “EY-Global” is merely a “brand name,” a characterization possibly borrowed
from a certain U.S. President and not the horizontally and vertically interconnected consortium
of partnerships that shares resources and consolidates their revenue as such suits their purposes
o The UBS ETN scheme is arguably UBS’s most lucrative financial crime. Left unchecked, it
will contribute billions of dollars to UBS entities and its lndividual Defendants, all of whom hold
a considerable quantity of UBS shares and stock options and EY’s partners who charge UBS
exorbitant fees for aiding and abetting UBS’s fraudulent ETN scheme, FAC 1111 14-24. With the
filing of this Opposition and FAC, unlike Defendant’s bogus allegations to the contrary, Plaintiff
believes he has exceeded the applicable standards of plausibility and particularity and has
established numerous genuine issues for a jury to decide by setting out non-conclusory, and
mostly undisputed, Well-documented facts and allegations to support every element of his twelve
claims for relief. Plaintiff’ s claims more than meet the plausibility standard when the inferences
that must be drawn from the mostly undisputed facts and allegations and disputed facts and
allegations are assessed in a light favorable to Plaintiff. F or example, how could it not be
plausible that UBS, an investment bank with an incontrovertible, Vast history of the most serious
financial crimes ever recorded, did not conduct the fraudulent misconduct and other torts alleged
and documented in Plaintiff’ s FAC? ln fact, Plaintiff’ s FAC is so utterly plausible that
Defendants had only the amplified fictional narratives they deployed in their MTDS in their joint
effort to confuse the serious issues raised by Plaintiff. In their MTDS Defendants maintain that
various named parties are not served and not represented by counsel even though these named

Defendants are represented by counsel as seen in UBS’s MTD at pages l and 25, where UBS has

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moved to dismiss Plaintiff’s claims against UBS’s Individual Defendants by name. To date,

representation has not been withdrawn for any of the UBS or EY lndividual Defendants

0 UBS Brags lt is Beyond the Reach of U.S. Law: Astonishingly, on page 6 of UBS AG’s
shelf registration statement for CEFL, under the heading “Limitations on Enforcement of U. S.
Laws Against lts Management and Others,” UBS AG brazenly brags that “most of its directors
and executive officers are resident outside the U.S., and all or a substantial portion of their assets
are located outside the U.S., thus making it difficult to serve legal process on them, and there is
doubt as to the enforceability in Switzerland, in original actions or in actions for enforcement of
judgments of U.S. courts, of liabilities based solely on the securities laws of the U.S.” The above
declaration by UBS demonstrates a degree of hubris typically reserved for senior members of
criminal organizations Also, UBS lndividual Defendant Robert McCann was timely served. See

Plaintiff’ s Exhibit Q to the FAC.

0 Moreover, the long-arm statute, RULE 4(k)(2), provides for a plaintiff to sue foreign
defendants in federal court on a federal claim with no need to allege concrete facts that would
demonstrate that defendants are properly subject to personal jurisdiction All that is necessary is
a statement that it is possible that a plaintiff may later prove that defendant had minimum
contacts within the U..S Courts allow for unproven allegations of minimum contacts with the
U.S. to suffice for the purpose of pretrial jurisdictional discovery. Thus, even where no contacts
are meaningfully demonstrated, foreign defendants must defend themselves on foreign soil for
pretrial jurisdictional discovery and likely for the entire lawsuit based on minimum contacts
within the U.S. Metro-Goldwyn-Meyer Sl‘ua'ios, lnc. v. Grokster, 243 F. Supp. 2d 1073 (C.D.

Cal. 2003); Uniz‘ed Stal’es v. Swiss Am. Bank, Ltd., 116 F. Supp. 2d 217.

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STANI)ARD OF REVIEW

When considering an MTD under 12(b)(6), the court must accept all well-pleaded factual
allegations in the complaint as true and draw all reasonable inferences in favor of the plaintiff
SEC v. Apuzzo, 689 F.3d 204, 207 (2d Cir. 2012); SEC v. Wyly, 788 F. Supp. 2d 92, 101
(S.D.N.Y. 2011). A motion to dismiss should be granted only if the complaint is unable to
articulate “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556 U.S. 662 (2009).

0 A complaint need not contain detailed factual allegations If the complaint contains
sufficient “factual content” to allow “the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged,” the plaintiff has met its burden of stating a claim
with “facial plausibility.” Iqbal, 556 U.S. at 678; SEC V. Wyly, 788 F. Supp. 2d at 101. Upon a
motion to dismiss the court should not evaluate the merits of the allegations “A well-pleaded
complaint may proceed even if it strikes a savvy judge that actual proof . . . is improbable, and
that a recovery is very remote and unlikely.” Twombly, 550 U.S. at 556; Walker v. Schult, 717
F.3d 119, 124 (2d Cir. 2013) (on motion to dismiss, court should not “assay the weight of the
evidence which might be offered in support thereof ’) (citing Dz'Folco v. MSNBC Cable L.L.C.,
622 F.3d 104, 113 (2d Cir. 2010)); Elastic Wonder, lnc. v. Posey, Case No. 13 CV. 5603 (JGK),
2015 WL 273691, at *1 (S.D.N.Y. Jan. 22, 2015) (function of motion to dismiss is not to weigh
evidence). Thus, a motion to dismiss for failure to state a claim is viewed with disfavor and is
rarely granted Freua'enberg v. E*Trade Financial Corp., 712 F. Supp. 2d 171, 178-79 (S.D.N.Y.
2010). Rule 12(b)(6) mandates that MTDS should be granted only if a plaintiff can prove no set

of facts to support claims that would entitle relief. Bell Atlantic Corp v. Twombly, 550 U.S. 540,

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570 (2007), Conley v. Gz`bson, 335 U.S. 41, 48 (1957); 0 A motion under Rule 12(1))(6) merely
tests the legal sufficiency of a complaint, requiring a court to construe the complaint liberally,
assume all facts as true, and draw all reasonable inferences in favor of the plaintiff Twornbly,
550 U.S. at 556-57. 0 A complaint should never be dismissed because the court is doubtful that
the plaintiff will be able to prove all of the factual allegations contained therein. ld. o In cases
involving fraud, Rule 9(b) sets out the standards a complaint must meet. lt does not raise the
pleading standard to the level required to survive a motion for summary judgment or to prevail at
trial. Plaintiff need only set forth the particular facts of the fraud, which at this stage must be
accepted as true. 0 Moreover, Defendants repeatedly state throughout their MTDS that the FAC
pleadings are deficient This allegation is no ground for dismissal under Rule 12(b)(6). In re
Inz'tial Public O]j‘ering Sec. Lz`tz'g., 241 F. Supp. 2d 281, 333 (S.D.N.Y. 2003). 0 lf Defendants
truly believed that the pleadings were deficient, they could have moved to for a more definite
statement under Rule 12(e). They did not because the fact-laden FAC is sufficiently clear and
detailed and Defendant’s flawed allegations to the contrary should be disregarded 0 The U.S.
Supreme Court has articulated the appropriate standard a court must follow in deciding an MTD
under the Private Securities Legislative Reform Act (“PSLRA”). First, a court must accept all
factual allegations set forth in the complaint as true. Tellabs, lnc. v. Makor Issues and Rights,
Lta', 551 U.S. 308, 322 (2007). Second, the court must consider the complaint in its entirety; “the
inquiry. . .is whether all of the facts alleged, taken collectively, give rise to a strong inference of
scienter, not whether any individual allegation, scrutinized in isolation, meets that standard.” ld.
Finally, the court must conduct a comparative inquiry: “[a] complaint will survive if a reasonable
person would deem the inference of scienter cogent and at least as compelling as any opposing

inference one could draw from the facts alleged.” Id. at 324. 0 The facts as alleged by Plaintiff

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more than adequately survive such a comparison 0 Plaintiff`s FAC with sufficient particularly
states facts that support each element of Plaintiff’s claims and thus withstands Defendant’s
MTDs. Plaintiff has set forth detailed allegations that fulfill each and every pleading requirement
under 9(b.) answering the who, what, when, where, and how of his claims As the Supreme Court
noted in Bell Atlantl`c Corp. v. Twornbly, 550 U.S. 544 (2007), to survive a MTD, there simply
must be “enough fact[s] to raise a reasonable expectation that discovery will reveal evidence”
corroborating the claims Ia’. at 556. Further, to plead scienter under the PSLRA, a complaint
must “state with particularity facts giving rise to a strong inference that defendants acted With the
intent to deceive or with deliberate recklessness as to the possibility of misleading investors
“The inference that the defendant acted with scienter need not be irrefutable, i.e., of the smoking-
gun genre, or even the most plausible of competing inferences.” Tellabs, 551 U.S. at 324. A
complaint survives if, “[w]hen the allegations are accepted as true and taken collectively,” a
reasonable person would “deem the inference of scienter at least as strong as any opposing
inference.” Ia’. at 326. 0 As the Supreme Court clarified in Matrixx lnitiatives, lnc. v. Siracusano,
131 S. Ct. 1309 (2011), courts are not to engage in a dual inquiry by first sorting through each
component of scienter in isolation Instead, courts should review “all the allegations holistically.”
Ia'. at 1324. If the competing inferences are equally plausible, the complaint should be sustained
Tellabs, 551 U.S. at 331. Moreover, the Twombly Court stated that "a Complaint attacked by a
Rule 12(b)(6) MTD does not need detailed factual allegations . .," Twombly, 550 U.S. at 555.
The Twombly plausibility standard, which applies to all civil actions does not prevent a plaintiff
from "pleading facts alleged upon information and belief where the facts are peculiarly within
the possession and control of the defendant,” Boykl`n v. KeyCorp, 521 F.3d 202, 215 (2d

Cir.2008), or where the belief is based on factual information that makes the inference of

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culpability plausible, see Iqbal, 129 S.Ct. at 1949, "A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the defendant
is liable for the misconduct alleged." The Twombly Court also stated, ". . .we do not require
heightened fact pleading of specifics, but only enough facts to state a claim to relief that is
plausible on its face." 0 Although Twombly and Iqbal require "`factual amplification [where]
needed to render a claim plausible,"' Turkmen v. Ashcro#, 589 F.3d 542, 546 (2d Cir.2009)
(quoting Ross v. Bank of America, N.A (USA), 524 F.3d 217, 225 (2d Cir.2008)), the contention
that Twombly and Iqbal require the pleading of specific facts was rejected 0 lt is “only the
extraordinary case in which dismissal is proper” for failure to state a claim. Uniled States v. City
ofRea'wooa' City, 640 F.2d 963, 966 (9th Cir. 1981) (ernphasis added). 0 A court may dismiss a
complaint as a matter of law only if the complaint: (1) lacks a cognizable legal theory; or (2) fails
to contain sufficient facts to support a cognizable legal claim. Robertson v. Dean Witter
Reynolds, lnc., 749 F.2d 5 30, 534 (9th Cir. 1984). The court must not look at whether the
plaintiff will “ultimately prevail but whether the claimant is entitled to offer evidence to support
the claims.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Also, courts may not consider
materials outside the pleadings when resolving a M'l`D. Schnez`der v. California Dep'z‘ of
Corrections, 151 F.3d 1194, 1197 nl (9th Cir.1998). 0 lnstead, the court must decide “whether
or not it appears to a certainty under existing law that no relief can be granted under any set of
facts that might be proved in support of a plaintiffs claims.” De La Cruz v. Torrney, 582 F.2d 45,
48 (9th Cir. 1978). While Plaintiffs' Section 10(b) claims are subject to the heightened pleading
standards of Fed. R. Civ. P. 9(b) and the PSLRA, other of his claims, as described below, are not.
In re Scholastz'c Corp., 252 F.3d 63, 69-70 (2d Cir.2001). 0 Rule 9(b) requires that allegations of

fraud be stated with particularity Additionally, under PSLRA, an action for money damages

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requires proof of scienter, the complaint “[must] . . . state with particularity facts giving rise to a
strong inference that the defendant acted with the required state of mind." 15 U.S.C.A. § 78u-
4(b)(2). Particularity requires (1) specifics of the omissions plaintiff contends were fraudulently
omitted; (2) identity of the omitter (3) where and when the omissions occurred; and (4) why the
omissions were fraudulent." Stevelman v. Alias Research, ]nc., 174 F.3d 79, 84 (2d
Cir.1999);/1nal'ian v. Coults Bank (Swirzerlana’) Lta’., 193 F.3d 85, 88 (2d Cir. 1999). 0 A court
considering a MTD "is normally required to look only to the allegations on the face of the

FAC." Rorh, 489 F.3d at 509. Courts "may consider any written instrument attached to the FAC,
statements or documents incorporated into the FAC by reference, legally required public
disclosure documents filed with the SEC, and documents possessed by or known to the plaintiff
and upon which it relied in bringing the suit." ATSI Commc’ns, lnc. v. Shaar Funa’, Lta'., 493 F.3d
87, 98 (2d Cir.2007). 0 To state a claim under Section 10(b) of the Exchange Act and Rule 10b-5
promulgated thereunder, a plaintiff must allege that "the defendant, in connection with the
purchase or sale of securities, omitted a material fact, with scienter, and that plaintiffs reliance
on defendant's action in caused injury to the plaintiff" Lawrence v. Cohn, 325 F.3d 141, 147 (2d
Cir.2003). That UBS executives acted with the required state of mind by actively encouraging
fraud is recorded the FAC 1111 189-190, 212, 231, 319-321, 485, 651-654, 675-681, 694-699, 745,

7761, 962-972.

SUMMARY RECITAL GF THE UNDISPUTED AND DISPUTED FACTS

Plaintiff incorporates all of the facts, allegations and exhibits set out in the FAC. 0 The Core
Questions/Allegations Underlying Much of Plaintiff’s Lawsuit are: Why did Defendants opt to
conceal UBS’s financial criminality? Offering documents are the primary and often the only

source of information, as here, that informs an investors decision whether to invest in a security.

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lf UBS’s financial crimes had been disclosed, as the security laws require, up-front in the “Risk
Factors” section of the offering document for CEFL, no rational investor would have invested in
CEFL. Moreover, why did EY fail to take appropriate remedial action by insisting that UBS
disclose its financial crimes in the offering document for CEFL, or deny UBS unqualified audit
opinions, or resign from the audit, or inform the SEC? EY does not deny that it served as
“Expert” for the SEC-filed UBS AG shelf registration statement or that it audited the offering
document for CEFL. 0 Further, Schwab Defendants failed to alert Plaintiff to UBS’s financial
criminality, as other maj or broker-dealers did for their customers FAC 11 98, and instead

encouraged additional purchases of CEFL shares by granting margin loans to Plaintiff.

SUMMARY RECITAL OF PLAINTIFF’S ARGUMENT

Defendants' meritless MTDs entirely bypass the standards courts apply to an MTD and are
clearly intended more to delay by obfuscation of the issues involved than for any probative
value. Defendants, in opposition to the entire body of law governing security offerings, allege
that material risk factors need not be disclosed in an offering document 0 Moreover, nowhere
have Defendants attempted to present an alternative to the extensive set of adequately pled
allegations set out in the FAC. Why? Because there is no alternative set of facts except for the
Defendant’s joint and glaringly wrongful allegation that Defendant’s disclosure of certain but not
all of UBS’s multi-decade serious financial crimes, buried hundreds of pages deep in a Swiss
banks undistributed annual reports, somehow satisfies the Black Letter Law requirement for full
disclosure in an offering document, which it does not. Defendant’s flawed allegation throws mud
in the face of the entire body of law governing full disclosure in the offering documents of newly
issued securities as mandated by the U.S. Supreme Court, FAC 1111 325, 326, 5 65, the Exchange

Acts, FAC 11 566 and SEC Rules, FAC 11 565. Further, to avoid the 25-page requirement, much of
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UBS’s MTD is argued in small print footnotes and should be disregarded in its entirety. 0 The
MTDs avoid addressing any of Plaintiff’s allegations or the supporting statute and case law and
the 25 exhibits Defendant’s hackneyed attacks on the adequacy of Plaintiffs" allegations while
lengthy, are unavailing Defendants urge the Court to make premature decisions on materiality,
and to impose and apply improper pleading standards for each of Plaintiffs 12 counts If an
offering document need not set forth material risk factors as Defendants have outrageously
alleged, and if securities issuers and underwriters may intentionally market defective securities
as Defendants have not denied, and if broker-dealers are free to sell defective securities to the
elderly, and if audit firms are free to grant unqualified opinion letters to international crime
enterprises infected with a culture of criminality, then, and only then, dismissal of this action
would be a lawful outcome. o The FAC specifically identifies most of the undisclosed material
risk factors in the offering document for CEFL known to Plaintiff before discovery. 0 Consistent
with Rule 9(b), the PSLRA, and 2nd Circuit’ standards the FAC specifies the time, date, place,
and content of the alleged intentional omissions and why the omissions were misleading The
FAC alleges with great particularity, a plethora of facts that when taken collectively demonstrate
that Defendants in their desperate quest for profits issued a defective security and used a
defective offering document to induce Plaintiff to invest in a defective security. The FAC cites
numerous instances of UBS’s intentional omission of material risk factors from the offering
document, including an abundance of serious financial crimes 0 The FAC also alleges that
Defendants had strong, personal pecuniary motives to make the materially false and misleading
statements These well-pled facts and many others individually and collectively, raise a strong
and cogent inference of scienter. 0 Finally, the FAC’s claims under the Exchange Acts should

also be sustained because Plaintiff has adequately pled primary violations of § 10(b) of the 1934

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Act. For these reasons and those more fully discussed below, this Court should deny
Defendants’ MTDs in their entirety. 0 Further, it is axiomatic that a plaintiff is not required to
plead his evidence “or specific factual details not ascertainable in advance of discovery. Gibson
v. Unz`tea’ A complaint challenged under Rule 12(b)(6) “does not need detailed factual allegations
to survive Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The challenged complaint need
only make a “`showing"’ of the plaintiffs “entitlement to relief.” ld. at 555 n.3. Plaintiff’s FAC
surely does just that and much more. As the Supreme Court has instructed, on a MTD “we do not
require heightened fact pleading of specifics but only enough facts to state a claim to relief that
is plausible on its face.” Ia’. at 570. Plausibility in this context, the Court has cautioned, “is not
akin to a `probability requirement.” Ashcrofl v. Iqbal, 129 S. Ct. 1937, 1949 (2009). 0 Plaintiff”s
FAC contains considerable detailed factual information and 25 informative exhibits including
UBS’s undisclosed material risk factors Even the name of the UBS product “CEFL” is missing
from the boilerplate offering document for CEFL, and not mentioned even once in the shelf
registration statement, or in the 28 pounds of Swiss bank UBS AG’s annual reports and other
documents EY twice dumped on this Court and Plaintiff 0 Even the names addresses and
qualifications of the persons who will manage the CEFL security and who created it are missing
as well as many more material risk factors including UBS’s numerous serious financial crimes
its multi-year term of criminal probation, the possibility it will have its eligible issuer status and
loss of license to conduct a securities business in the U.S., all of which, and much more is
alleged and documented in the FAC. 0 Moreover, UBS Defendants do not deny they possess the
skills resources motive and opportunity to manipulate CEFL for their own financial benefit and
to the detriment of Plaintiff, and even brag that they will and have done just that. 0 Nor do

Defendant’s deny that the undisclosed material risk factors should be disclosed in the CEFL

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offering document and not just certain of the UBS crimes that are buried hundreds of pages deep
in Swiss bank UBS AGS voluminous annual reports documents not distributed to Plaintiff and
that do not mention CEFL, even once Without exception, U.S. securities Black Letter Law
demands an issuer provide full disclosure of all material risk factors in an offering document

0 EY Defendants do not address or deny most of Plaintiff’s allegations or EYs failure to
insist that UBS engage in full disclosure in its offering document, instead insisting that all that is
required of EY is a review of UBS’s financial documents which entirely fails to meet the
obligations of an external auditor as set out in the FAC 1111 477, 498, 517-523, 529-541. 0 UBS
claims Plaintiff has not explained what makes the material risk factors material Not true The
FAC explains materiality as it was explained by the U.S. Supreme Court, FAC 11 326. 0 Surely,
the fact that UBS did not disclose its serious crimes several of which are directly related to the
issues in this action, is eminently germane to an investor’s investment decision and to argue to
the contrary is as absurd as arguing that 2 + 2 = five. Equally absurd is UBS alleging that its
undisclosed four-year term of criminal probation is not germane, as is UBS alleging that its being
on the verge of being declared an ineligible issuer and the loss of its license to conduct a
securities business in the U.S. is not germane 0 Another, absurd assertion by UBS is that the
FAC should be dismissed because on the one hand it is “prolix,” and on the other that it fails to
meet the ‘heightened pleading standard” of PSLRA, UBS MTD, 24-25. The term “prolix” is
often interpreted to mean bounteous copious plentiful, superabundant, detailed, or rich. Perhaps
the term UBS intended was not “prolix,” but rather “poleax,” which is what UBS is asking this
Court to do to Plaintiff"s case, “poleax” it instead of considering it on its merits The length of

Plaintiff’s FAC was a necessary and inevitable byproduct of the complexity of the issues

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involved, the number of Defendants and the need to correct the initial Complaint to accord with
this Court’s order, all in a single document

0 The U.S. Supreme Court, Exchange Acts and common law unequivocally mandate the full
disclosure all material risk factors in an offering document, a mandate UBS intentionally ignored
and EY failed to insist that UBS comply with. The U.S. Supreme Court held little back when it
declared: “We have recognized time and again, a ‘fundamental purpose’ of the various Securities
Acts was to substitute a philosophy of full disclosure for the philosophy of caveat emptor, and
thus to achieve a high standard of business ethics in the securities industry, FAC 11 326. SEC v.
Capl`tal Gal`ns Research Bureau, lnc., 375 U.S. 1, (1972); Ajj?liatea' Ute Citizens v. Unl'red States,
406 U.S. 128 (1972); Santa Fe Ina'usrries InC., v. Green, 430 U.S. 406; Panther Parlners, lnc. v.
Ikanos Commc’ns, 1nc.,,538 F.Supp.2d 662, 669 (S.D.N.Y.2008) ("[R]isk disclosures must
accurately characterize the scope and specificity of the risk, as understood at the time the
statements are made[.]"); In re Am. Inr’l Grp., lnc. 2008 Sec. Litig., 741 F.Supp.2d 511, 531
(S.D.N.Y.2010), ("[G]eneric risk disclosures are inadequate to shield defendants from liability
for failing to disclose known specific risks."). 0 The PSLRA erected high hurdles for plaintiffs to
clear to survive a MTD. Typically, defendants as here, use MTDs in a desperate attempt to
preclude the initiation of discovery and a jury trial by, as here, making use of forrnulaic and
hyper-technical arguments which fail to dig into the facts of the case, expose the flaws of the
complaint in detail, and tell a compelling story why plaintiff failed to allege a sufficient inference
of scienter, or reliance, or loss causation or why the complaint lacks plausibility. Of course,
given UBS’s extensive record of financial criminality, it would be difficult for Defendant’s to

assert UBS’s honesty.

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o The U.S. Supreme Court has ruled that on an MTD, “. . .we do not require heightened fact
pleading of specifics but only enough facts to state a claim to relief that is plausible on its face.”
Plausibility in this context, the Court has cautioned, “is not akin to a `probability requirement.”
Ashcroft v. Iqbal, 129 S. Ct. 193 7, 1949 (2009). Deter“mining whether a complaint makes out a
plausible claim for relief is “a context-specific task that requires the reviewing court to draw on
its judicial experience and common sense.” Id. at 1950. ln making that determination a court
“construe[s] the complaint liberally, accepting all factual allegations in the complaint as true, and
drawing all reasonable inferences in Plaintiffs’ favor.”

0 Plaintiff s FAC more than adequately details the factual basis for the claims asserted
against Defendants under § 10(b) of the Exchange Act and Rule 10b-5. Klel`nman v. Elan
Corp., 706 F.3d 145, 152 (2d Cir.2013). Alternately, Plaintiffs' claims under §§ 11 and 12(a)(2)
of the Securities Act do not require a showing of scienter, reliance, or loss causation, and require
Plaintiff to show only that Defendants issued or signed a registration statement containing "an
untrue statement of a material fact or omitted to state a material fact required to be stated therein
or necessary to make the statements therein not misleading" 15 U.S.C. § 77k(a); see also
Faz`z‘, 655 F.3d at 109. 0 Claims under § 18 of the Exchange Act likewise need not allege
scienter. Ross v. A.H. Robins Co.,607 F.2d 545, 556 (2d Cir.1979). 0 Defendant’s MTDS fail to
make any forceful arguments against any of the allegations in Plaintiffs FAC. Instead, the
superficial MTDs assert that old saw that the allegations are too vague to satisfy the pleading
standard, while entirely failing to engage in a detailed defense of the challenged allegations ln
its MTD UBS masquerades as an honest broker/bank, which it clearly is not. And EY
masquerades as an innocent bystander to UBS’s numerous serious financial crimes when its

innocence is precluded by the billion-plus in fees it has received from UBS for its pretended

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innocence lnstead of dealing directly with Plaintiff s allegations Defendants have engaged in
producing lengthy MTDs that are merely thinly disguised attempts at perception distortion by
repeatedly citing inapplicable case law and obviously flawed argumentation 0 There is not
nearly enough space in this Opposition to note the numerous defects in the numerous cases
Defendants cite, cases that are often far from being on point and occasionally stand for the
opposite of what Defendants intended. Plaintiff will only take note of a few of them. When citing
Kurlz v. Foy, 884 N.Y.S. 2d 498, 501 , EY stretches far afield to realty law, which does not afford
the same investor protections as the U.S. security laws to show that if Plaintiff wasn’t so stupid
he would have perused Swiss bank UBS AG’s nearly 1,000-page, small print, single-spaced
annual reports to find buried hundreds of pages deep, certain of the UBS’s serious financial
crimes UBS failed to disclose in the offering document Even here, EY errs. EY’s cite maintains
precisely the opposite of EY’s argument, stating instead that “. . .a purchaser’s failure to
determine a transaction's true nature by inspecting public records is not fatal when "the facts
were peculiarly within the knowledge of the defendant and were willfully misrepresented."
Cel'nar v Kz'nowski, 263 A.D.2d 842, 844 [1999]. 0 Moreover the "Buried Facts Doctrine” holds
that a disclosure is deemed inadequate if presented in a way that conceals or obscures the
information sought to be disclosed The doctrine applies when the material risk factors in
question are intentionally buried in a voluminous document, as here, FAC j[jl 91-92. Werner v.
Werner, 267 F.3d 288 (3d Cir. Pa. 2001).

PLAINTIFF’S PLEA])INGS

Plaintiff has adequately pled scienter. The PSLRA states that with respect to each alleged
omission, a plaintiff must state with particularity facts giving rise to a strong inference that the
defendant acted with the required state of mind,” i.e., scienter. 15 U.S.C. § 78u-4(b)(2). Plaintiff

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must show, and did show, that Defendant’s had an intention to defraud Plaintiff The most
obvious flaw in Defendant’s arguments against scienter is their utter failure to engage in a fact-
specific analysis of the FAC’s allegations about what the Defendants knew with regard to each
allegation of fraud. Moreover, under the “core operations” inference of scienter, and the
“corporate scienter” doctrine, a plaintiff need not plead specific facts establishing the corporate
scienter. For example, the core operations inference posits that scienter can be inferred where it
would be “absurd to suggest” that a senior executive doesn’t know facts about the company’s
“core operations.” Scienter is established either "(a) by alleging facts to show that defendants had
both motive and opportunity to commit fraud, or (b) by alleging facts that constitute strong
circumstantial evidence of conscious misbehavior or recklessness." Kalnz`r v. Eichler, 264 F.3d
131, 138 (2d Cir.2001). ln evaluating whether the pleadings suggest a strong inference of
scienter, the "the court's job is not to scrutinize each allegation in isolation but to assess all the
allegations holistically." Tellabs, Inc., 551 U.S. at 326. The inference of scienter in the FAC is
"more than merely plausible or reasonable_-it is cogent and at least as compelling as any
opposing inference of non-fraudulent intent." Tellabs, Inc., 551 U.S. at 314, “. . .the inquiry. . .is
whether all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not
whether any individual allegation, scrutinized in isolation, meets that standard.” Ia’. Finally, the
court must conduct a comparative inquiry: “[a] complaint will survive if a reasonable person
would deem the inference of scienter cogent and at the court must consider the complaint in its
entirety; “the inquiry. . .is whether all of the facts alleged, taken collectively, give rise to a strong
inference of scienter, not whether any individual allegation, scrutinized in isolation, meets that
standard.” Ia’. Finally, the court must conduct a comparative inquiry: “[a] complaint will survive

if a reasonable person would deem the inference of scienter cogent and at least as compelling as

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any opposing inference one could draw from the facts alleged.” Id. at 324. The facts as alleged
by Plaintiff more than adequately survive such a comparison 0 Plaintiff’s FAC with sufficient
particularly states facts that support each element of` Plaintiffs claims and thus withstands
Defendant’s MTDs. Plaintiff has set forth detailed allegations that fulfill each and every pleading
requirement under 9(b.) answering the who, what, when, where, and how of his claims As the
Supreme Court noted in Bell Atlantz`c Corp. v. Twombly, 550 U.S. 544 (2007), to survive a MTD,
there simply must be “enough fact[s] to raise a reasonable expectation that discovery will reveal
evidence” corroborating the claims Id. at 556. ¢Further, to plead scienter under the PSLRA, a
complaint must “. . .state with particularity facts giving rise to a strong inference that defendants
acted with the intent to deceive or with deliberate recklessness as to the possibility of misleading
investors “The inference that the defendant acted with scienter need not be irrefutable, i.e., of
the smoking-gun genre, or even the most plausible of competing inferences.” Tellabs, 551 U.S.
at 324. A complaint survives if, “[w]hen the allegations are accepted as true and taken
collectively,” a reasonable person would “deem the inference of scienter at least as strong as any
opposing inference.” Ia’. at 326. As the Supreme Court clarified in Malrz`xx Initiatives, lnc. v.
Sz'racusano, 131 S. Ct. 1309 (2011), courts should not engage in a dual inquiry by first sorting
through each component of scienter in isolation Instead, they should review “all the allegations
holistically.” Id. at 324. If the competing inferences are equally plausible the complaint should
be sustained Tellabs, 551 U.S. at 331. o Moreover, the Twombly Court stated that a Complaint
attacked by a Rule 12(b)(6) MTD does not need detailed factual allegations Twombly, 550 U.S.
at 555. The Twombly plausibility standard, which applies to all civil actions does not prevent a
plaintiff from ". . pleading facts alleged upon information and belief where the facts are

peculiarly within the possession and control of the defendant,” Boykz'n v. KeyCorp, 521 F.3d

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202, 215 (2d Cir.2008), or where the belief is based on factual information that makes the
inference of culpability plausible see ]qbal, 129 S.Ct. at 1949, "A claim has facial plausibility
when the plaintiff pleads factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged." The T womny Court also Stated, "...we
do not require heightened fact pleading of specifics but only enough facts to state a claim to
relief that is plausible on its face." Although T womny and Iqbal require ". . . `factual
amplification [where] needed to render a claim plausible.'" Turkmen v. Ashcrofl, 589 F.3d 542,
546 (2d Cir.2009) (quoting Ross v. Bank of America, N.A (USA), 524 F.3d 217, 225 (2d
Cir.2008)), the contention that Twombly and Iqbal require the pleading of specific facts was

rej ected.e lt is “. . .only the extraordinary case in which dismissal is proper” for failure to state a
claim. United States v. Cizy of Redwooa’ Cily, 640 F.2d 963, 966 (9th Cir. 1981). o A court may
dismiss a Complaint as a matter of law only if the Complaint: (1) lacks a cognizable legal theory;
or (2) fails to contain sufficient facts to support a cognizable legal claim Roberrson v. Dean
Wirter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984). ¢ The court must not look at whether
the plaintiff will “. . .ultimately prevail but whether the claimant is entitled to offer evidence to
support the claims.” Scheuer v. Rhoa'es, 416 U.S. 232, 236 (1974). Also, courts may not consider
materials outside the pleadings when resolving a MTD. Schneide.r v. California Dep't Of
Correctz'ons, 151 F.3d 1194, 1197 n.l (9th Cir.1998). lnstead, the court must decide “. . .whether
or not it appears to a certainty under existing law that no relief can be granted under any set of
facts that might be proved in support of a plaintiffs claims.” De La Cruz v. Tormey, 582 F.2d 45,
48 (9th Cir. 1978). 0 In Novak v. Kasaks, 216 F.3d 300 (2d Cir.2000) the Court identified four
types of allegations that may be sufficient to allege scienter: "[D]efendants (1) benefitted in a

concrete and personal way from the purported fraud; (2) engaged in deliberately illegal behavior;

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(3) knew facts or had access to information suggesting that their public statements were not
accurate; or (4) failed to check information they had a duty to monitor." Novak, 216 F.3d at 311.
Plaintiff relies principally on the first three of the four Novak rubrics, alleging that UBS (1)
benefitted in a concrete and personal way from the purported fraud; (2) engaged in deliberately
illegal behavior; (3) knew facts or had access to information suggesting that their public
statements were not accurate Novak, 216 F.3d at 311. To plead scienter based on conscious
misbehavior or recklessness ". . .the Complaint must contain allegations of specific
contemporaneous statements or conditions that demonstrate the intentional or the deliberately
reckless false or misleading nature of the statements when made." Ronconi v. Larkin, 253 F.3d
423, 432 (9th Cir.2001). 0 Plaintiff has pled conscious recklessness and deceit by alleging
defendants' knowledge of undisclosed material risk factors and intentionally omitted these from
the “Risk Factors” section of the offering document for CEFL. In re Bayer AG Sec. Litig., No. 03
Civ. 1546, 2004 WL 2190357, at *15 (S.D.N.Y. Sept. 30, 2004) (citing Novak,216 F.3d at 308).
"ln cases in which scienter is pled in part by alleging that the defendant knew facts or had access
to information suggesting that their public statements were not accurate the scienter analysis is
closely aligned with the analysis as to misleading statements." In re Alstom SA, 406 F.Supp.2d
433, 456 (S.D.N.Y. 2005). 0 All of the Section 10(b) Defendants were allegedly privy to
material undisclosed facts concerning the public offering of CEFL. UBS Defendants allegedly
prepared, approved, signed, and/or disseminated the documents and statements that contain the
material omissions upon which Plaintiffs' 10(b) claims are predicated Plaintiffs' factual
allegations pled amply and with particularity, support an inference that is " . . .at least as
compelling as any opposing inference" that any of the Defendants have alleged Construing the

allegations in the FAC in the light most favorable to Plaintiff, the Court should conclude that

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Plaintiff has satisfied his burden of alleging facts giving rise to a strong inference of fraudulent
intent. In re New Cenz‘ury, 588 F.Supp.2d 1206, 1230 (C.D.Cal.2008) (allegation that defendants
certified financial statements despite knowledge of internal control problems states a claim for
deliberately reckless misstatements); In re Norrel Nerworks Corp. Sec. Lz’rig. , 238 F.Supp.2d 613,
631 (S.D.N.Y.2003) (allegations tha ". . . [d]efendants either had actual knowledge of or ready
access to facts that contradicted their public statements" adequately plead scienter). No opposing
inference is more compelling Accordingly, Plaintiffs' allegations are sufficient to satisfy their
pleading obligation with regard to scienter. Further, Defendants’ motives contribute to a strong
inference of scienter: A personal pecuniary motive is not required to plead scienter. Daou, 411
F.3d at 1023. However, “. . .personal financial gain may weigh heavily in favor of a scienter
inference.” Tellabs, 551 U.S. at 325; In re New Cenrury, incentives such as bonuses . . . may
strengthen an inference of scienter.” FAC 1111 Exhibit H, 30, 33, 70-127, 143-193, 199-218, 226,

229, 246, 248-293, 288, 332, 335-381, 445-448, 454, 463, 467-468, 488-490, 493, 504, 519-975.

0 Plaintiff has adequately alleged control person liability under Section 20(a) against certain
UBS executive control Defendants and EY partners named in the FAC by demonstrating that
these Defendants can be held liable for both a primary violation and as control persons because
alternative theories of liability are permissible at the pleading stage Polz`ce and Fire Retiremenr
System ofthe Cily of Detroit v. SafeNet, Inc., 645 F.Supp.2d 210, 241 (S.D.N.Y.2009). ln order
to establish a prima facie case of liability under § 20(a), a plaintiff must show: (1) a primary
violation by a control person; (2) control of the primary violator by the defendant; and (3) `that
the controlling person was in some meaningful sense a culpable participant' in the primary
violation Boguslavsky v. Kaplan, 159 F.3d 715, 720 (2d Cir.1998) (quoting SEC v. First Jersey

Sec., Inc., 101 F.3d 1450, 1472 (2d Cir. 1996)). As demonstrated above, Plaintiff has stated a
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claim under Rule 10b-5 with respect to Defendants' primary participation in UBS's material
omissions Plaintiff has thereby satisfied the first element With respect to the second element,
". . determination of § 20(a) liability requires an individualized determination of a defendant's
control of the primary violator." Boguslavsky, 159 F.3d at 720. At the pleading stage, allegations
of a Section 20(a) defendant's control need not be set forth with particularity Sgalambo v.
McKenzie, 739 F.Supp.2d 453, 473-75, (S.D.N.Y. 2010) (allegations that defendants were senior
officers and board members and possessed the power to cause the direction of the company's
management and policies suffice to satisfy the second element of pleading control person
liability). A plaintiff must only show some indirect means of discipline or influence to plead
control. In re Moody's Sec. Litig., 599 F.Supp.Zd 493, 517 (S.D.N.Y.2009). Of the several
executive Defendants and EY partners none of them has denied their involvement in Plaintiff’ s
allegations of securities fraud These allegations are sufficient to satisfy the control element
under the pleading standard of Rule 8(a). With respect to the third element of control person
liability under Section 20(a), the pleading requirements for "culpable participation“ are satisfied
by the same allegations that satisfy the scienter pleading requirements In re A()L T ime Warner,
lnc. Sec. and ERISA Litz'g., 381 F.Supp.2d 192, 235 (S.D.N.Y,2004) ("allegations of scienter
necessarily satisfy the [culpable participation] requirement.") "In order to plead that a defendant
culpably participated in an alleged fraud, Plaintiff must allege that the Defendants acted at least
with recklessness in the sense required by Section 10(b) of the Exchange Act and Rule 10b-

5." In re Take-Two Interaclive Sec. Litig., 551 F.Supp.2d 247, 307-08 (S.D.N.Y.2008).
Plaintiff"s FAC is replete with allegations of intentional deceit and recklessness sufficient to
satisfy the culpable participation element Accordingly, Plaintiff has stated a claim for control

person liability under Section 20(a) of the Exchange Act against each of the named executives

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person allegations evaluated under the standard set forth in lied 1<. clv. r . u\a,. 1 - _ - ,_`

94, 333, 465, 476-477, 488, 560, 615, 663, 747, 752, 778,803, 809, 821, 823, 864, 879, 887, 925.

o Plaintiff has adequately pled that the various UBS omissions of material risk factors in the
offering document for CEFL, certain of which appear buried hundreds of pages deep in Swiss
bank UBS AG’s annual reports which were not disclosed to or distributed to Plaintiff, and which
Plaintiff was not aware of at the time he was investing in CEFL. These non-disclosures of
material risk factors in the offering document do not fulfill Defendant’s disclosure obligations
under the federal securities laws by failing to amplify the magnitude of the risk involved in
investing in CEFL. 0 These undenied, undisclosed material risk factors include (1) UBS’s
failure to disclose its vast history of serious financial crimes; (2) its four-year term of criminal
probation as administered by the Criminal Division of the U.S. DOJ; (3) the threat of loss of
license to conduct a securities business in the U.S.; (4) the threat of revocation of it eligible
issuer status (5) that UBS paid billions in fines penalties disgorgements, restitutions and
settlements as restitution for its crimes (6) that UBS was saved from losing its U.S. license by a
series letters from high-profile UBS attorneys to financial regulators imploring them to give UBS
another chance before initiating license revocation; (7) that UBS signed a non-prosecution
agreement with the DOJ and then violated the terms of that agreement by committing new
crimes (8) that no reasonable investor would invest in CEFL if UBS’s serious financial crimes
were disclosed in the offering document for CEFL; (9) that UBS’s criminal behavior dates back
to at least WWII and has grown exponentially since then, especially from 2007 through 2017;
(10) that UBS awarded its CEO a large raise in a year UBS paid out billions to redress its

financial crimes (11) that UBS has pocketed huge profits from its decades-long and continuing
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crime spree; (12) that UBS has executed some of the most serious financial crimes ever
recorded; (13) that UBS paid former President Clinton and the Clinton Foundation millions to
help them evade paying U.S. income taxes bribery of public officials that has continued; (14)
that UBS employees called UBS securities “Crap and Vomit;” (15) that CEFL is not once
mentioned in the shelf registration statement from which CEFL evolved or in CEFL’s offering
document; (16) that EY was paid huge audit and consulting fees by UBS for issuing UBS as
series of undeserved unqualified audit opinion letters (17) that EY’s undeserved unqualified
audit opinion letters were instrumental in allowing UBS to continue its securities business and
continue its financial crime spree; (18) that EY was fully aware of UBS’s undisclosed financial
crimes and failed to insist that UBS include them in the offering documents for CEFL; (19) that
EY failed to inform the SEC about UBS ’s crimes and failed to withdraw as UBS’s auditor after
learning about UBS’s financial crimes (20) that not a single executive or employee of any UBS
business entity is named in the offering document for CEFL or the UBS AG shelf registration
statement FAC 1111 248-293, 778-780, 790, 797, 835, 843, 849, 855, 862, 869, 878, 890, 904,

912, 920-923, 928, 937, 952, 955, 965.

c Plaintiff has adequately pled superior knowledge, securities fraud, fraudulent inducement,
fraudulent concealment, common law fraud, negligence and negligent concealment by alleging
that the Defendants had superior knowledge regarding that frauds not readily available to the
plaintiff and that the Defendants knowingly and with conscious deliberate and reckless steps to
conceal that superior knowledge from the Plaintiff The Exchange Acts of 1933 and 1934
provide for a private right of action for any investor who purchases securities pursuant to an
offering document that, at the time the offering became effective omitted to state material facts

required to be stated therein or necessary to make the statements therein not misleading 15
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U.S.C. § 77k (West 2009). Section 11 extends liability to issuing companies executives and
directors underwriters and accountants who provide their consent to being named as having
prepared or certified any part of the offering document ld. Section 12(a)(2) expands the liability
of underwriters beyond that provided in Section 11 by providing a private right of action for any
investor who purchases securities based on any prospectus or oral communication that includes a
material omission 15 U.S.C. § 77l (a)(2). Section 15 further extends liability to any defendant
that controlled a primary violator of Section 11. 15 U.S.C. § 770. 0 "The test for whether a
statement is materially misleading under Section 12(a)(2) is identical to that under Section 10(b)
and Section 11: whether the omissions viewed as a whole, would have misled a reasonable
investor. Rombach v. Chang, 355 F.3d 164, 178, n. 11 (2d Cir.2004). Plaintiff purchased CEFL,
an ETN-type security issued by UBS AG and underwritten by UBS Securities LLC pursuant to
an offering document called a Product Supplement, itself issued under a UBS AG shelf
registration statement used by UBS in numerous ETN offerings F or each UBS offering, the shelf
registration statements were supplemented by an offering document/Product Supplement instead

of an actual prospectus which has the very same disclosure requirements as a prospectus

0 Plaintiff has asserted claims against several UBS entities including the signing and
controlling executive Defendants and the EY audit partners all of whom have admitted they
were aware of the material omissions and did nothing to disclose these material facts in the “Risk
Factor” section of the offering document for CEFL so as to make that offering document not
misleading Defendants contend that Plaintiffs' Section 1 1 claims are subject to the heightened
pleading standard of Federal Rule of Civil Procedure 9(b). However, Rule 9(b) is only applicable
to Section 11 claims ". . .insofar as the claims are premised on allegations of fraud." In re Refco,

lnc. Sec. Lz`tz`g., 503 F.Supp.2d 611, 631 (S.D.N.Y. 2007) (quoting Rolnbach v. Chang, 355 F.3d
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164, 171 (2d Cir.2004). Section 11 of the Securities Act, unlike Section 10(b) of the Exchange
Act, does not require that the defendant acted with scienter. FAC 1111 30, 33, 70-127, 143-193,
199-218, 226, 229, 246, 248-293, 288, 332, 335-381, 445-448, 454, 463, 467-468, 488-490, 493,

504, 519-975.

o Plaintiff has adequately pled that the UBS Defendants issued and underwrote a defective
offering document and a defective security with a deliberate and reckless intent to defraud
Plaintiff by alleging specific plausible factors and strong inferences that show that the
Defendants knew the omissions of the material risk factors from the offering document for CEFL
were deceitful and reckless and were intended to induce plaintiff to invest in CEFL.¢ Rule 10b-
5 provides "A statement is material only if there is a substantial likelihood that the disclosure of
the omitted fact would have been viewed by the reasonable investor as having significantly
altered the total mix of information made available." In re International Business Machines
Corporare Sec, Litig., 163 F.3d 102, 106-07 (2d Cir.1998) (citing Basz'c v. Levz'nson, 485 U.S.
224, 231-32, 108 S.Ct. 978, 99 L.Ed.2d 194 (1988). FAC jHl 575, 596, 737. 0 Although "...a
corporation is not required to disclose a fact merely because a reasonable investor would very
much like to know that fact," In re Optionable Sec. Litz'g, 577 F.Supp.2d at 692, once a
corporation does speak, its communication creates "a duty to disclose all facts necessary to
ensure the completeness and accuracy of [the corporation's] public statements" Marsh &
Mclennan Cos. Sec. Lz`z‘ig., 501 F.Supp.2d 452, 469 (2d Cir.2006). 0 The undisputed purpose of
the federal securities laws is to ensure that investors have sufficient information to assess and
avoid undue risks by refraining from purchasing securities that carry greater risks than the
investor is willing to bear. 0 Plaintiffs need not plead omissions on the part of each of the

Section 10(b) Defendants separately. Rather, the group pleading doctrine allows Plaintiffs to
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". . .circumvent the general pleading rule that fraudulent statements must be linked directly to the
party accused of the fraudulent intent." In re BISYS Sec. Litig., 397 F.Supp.2d 430, 438
(S.D.N.Y.2005). Except for the Schwab Defendants all other Defendants are alleged to have had
direct involvement in the everyday business of UBS and Plaintiff is therefore entitled to rely on a
presumption that omissions in the offering document for CEFL are the collective work of those
individuals In re Oxford Health Plans, Inc., 187 F.R.D. 133, 142 (S.D.N.Y.1999). 0 Moreover,
fraudulent intent is a state of mind, a fact for a jury to decide ln Credit Sul`sse Fz`rsr Boslon Corp.
v. ARM Fz`nancial Group, Inc., the plaintiff investors alleged that the defendant issuer failed to
disclose that the short-term funding contracts upon which it relied could be redeemed on as little
as seven days’ notice, creating a tremendous liquidity risk that ultimately materialized, leading
the issuer to suffer large losses and a corresponding collapse of its stock price The defendant
sought shelter in its Form 10-K disclosure, which the Court deemed inadequate Credz`t Suz'sse
Fz`rst Boston Ccrp. v. ARMFz`nancz`al Group, lnc. No. 99 Civ. 12046, 2001 WL 300733, at *1-2
(S.D.N.Y. l\/lar. 28, 2001). 0 Similarly, Disclosures of specific material risk factors like those in
Swiss bank UBS AG’s annual reports do not shelter Defendants from liability because they
failed to disclose those facts in the offering document for CEFL. FAC 1111 615-646, 88, 120, 189-
190, 248-249, 287, 307, 315, 330-331, 349, 454, 575, 586, 610, 613, 733, 737, 791, 814, 820,

954.

0 Plaintiff has adequately pled Section 11 and Section 12(a)(2) claims against the UBS
underwriter Defendants: When viewed as a whole and in the light most favorable to Plaintiff, the
allegations regarding the shortcomings of the offering document for CEFL are adequate to state a
claim under Sections 11 and 12(a)(2), for substantially the reasons stated in Rombach v.

Chang, 355 F.3d 164, 178, n. 11 (2d Cir. 2004). 0 Just as no rational investor would entrust
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funds to l\/ladoff once his Ponzi scam was exposed, had UBS’s crimes been disclosed, UBS’s
ETNs including CEFL, would be shunned. FAC 1111 114-122, 210-211, 361, 369, 376-381, 451-

454500-502, 527-530, 550, 560-562, 570, 671-678, 725,793, 900.

0 Plaintiff has adequately pled Section 11 claims against EY and the falsity of the EY auditor
partner’s unqualified opinion letters ln their MTD, EY, the decades-long, 883 million-a-year in
fees auditor of UBS, an incontrovertible international financial criminal, claims clean hands
regarding Plaintiff s charges While 883 million-a-year buys plenty of soap, the that soap did not
result in clean EY’s hands EY’s consciousness of guilt is recorded at FAC 111 319-321. 0 Under
some totally contorted rationale, EY falsely claims (1) that it was not UBS’s auditor (EY MTD,
page 1), this even though Plaintiff has produced documentary evidence in the form of signed
audit opinion letters that prove EY was UBS’s auditor in both the U.S. and worldwide; (2) that
Plaintiff has not particularized his claims against EY (EY MTD, page 1), even though Plaintiff’ s
FAC is replete with particularized allegations against EY; (3) that Plaintiff does not claim EY’s
UBS’s audited financial statements were misleading (EY MTD, page 1), even though Plaintiff s
allegations involve the offering document for CEFL and not UBS’s audited financial statements
which are, by the way, misleading in that they grant UBS undeserved unqualified audit opinions
and bury UBS’s vast criminal history hundreds of pages deep in Swiss bank UBS AG’s annual
reports (4) that Plaintiff’ s reliance on the offering document for CEFL was ill-advised because
he should have instead relied on “news articles,” “government websites” and “USB’s [sic] own
financial statements (EY MTD , pages 1-2), all of which is nonsensically ludicrous and an
admission that UBS’s offering document was not to be relied on and offering documents are
absent of meaning, and UBS’s financial statements were not presented or even alluded to in the

offering document for CEFL; (5) that the Court need not bother to read Plaintiff’ s FAC because
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“. . .none of the twelve counts is adequately pleaded,” and that the Court should not grant any
further amendments because EY says so, a hissy fit if ever there was one (EY MTD, page 2); and
(6) EY’s meritless assertion of res judicata as any prior Plaintiff claim was dismissed without
prejudice FAC il 59. Conversely, EY may be held liable under Section 11 if in the conduct of
their audit they failed to conduct audits that comply with GAAS (Generally Accepted
Accounting Standards) and identify any failures to conform with GAAP (Generally Accepted
Accounting Principles) on the part of the audited company. In re WorldCom, lnc. Sec. Lz`rl`g. , 352
F.Supp.2d 472, 492-93 (S.D.N.Y.2005) plaintiffs alleged that PwC's audited financial statements
were not prepared in accordance with GAAP and that PwC did not conduct its audit in
accordance with GAAS. 0 Here, Plaintiff alleges that EY’s audit operational and control partners
had certain obligations to assure that the offering document for CEFL set out the full array of
risk factors required for an ordinary investor to assess the serious risk factors inherent in
investing in CEFL. EY's alleged failure to meet these obligations resulted in the unwarranted
unqualified opinions they granted to UBS from 2004 to 2017, while profiting to the tune of over
a billion dollars 0 Where a plaintiff has made well-pled allegations that an auditor blessed
financial statements that violated certain identified GAAP principles and were ". . fundamentally
misleading to investors" it is inappropriate to dispose of the claims at the MTD stage In re
Global Crossing, Ltd. Sec. Litig., 322 F.Supp.2d 319, 338-40 (S.D.N.Y.2004). Rather, because

". . . [e]ventual evidence on industry practice or expert testimony are likely to shed light on this
question," the determination of whether EY and its named audit partners cannot be determined in
advance of the development of the record." 0 The EY unqualified audit opinion letters are both

objectively false and subjectively false, and those EY partners who signed them could not

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believe the unqualified opinions they expressed FAC 1111 59, 79, 211, 277-281, 319-321, 332,

346-348, 360, 363, 454, 477, 483-385, 493-499, 587, 610, 656-657, 673, 740-742, 816-975.

o Plaintiff has adequately pled aiding and abetting by alleging how and by whom the aiding and
abetting was carried out. Defendants’ argue that the aiding and abetting claims (Counts 2 and 10
and elsewhere) are without merit as they offer nothing to support that allegation and simply
ignores the FAC’s numerous particularized factual allegations, which are more than adequate at
the pleadings stage to render Plaintiff’ claims plausible. 0 'l`he reasonable inferences that flow
from Plaintiff’ s fact-laden allegations demonstrate that UBS’s intentional misconduct was, and
still is, part of an overall corporate strategy to defraud unsuspecting and underinformed
investors. Given the reality that more detailed information regarding the Defendants’ misconduct
are matters to be developed more fully in discovery and resolved at a later phase in this litigation.
Higgins v. New York Stock Exch., Inc., 10 Misc. 3d 257, 290, 806 N.Y.S.2d 339, 366 (Sup. Ct.
N.Y. Co. 2005) (sustaining aiding and abetting claim on a motion to dismiss.) FAC 1111 14-24, 88,

603-604, 833-837, 875, 909-910, 932-939.

o Plaintiff has adequately pled requisite contacts: Under controlling law, the two separate tests
required for the exercise of personal jurisdiction over a foreign parent company by virtue of its
relationship to a subsidiary that has continual operations in the forum have been satisfied: the
"alter ego" and the “agency” tests. The Second Circuit'S test does not require that ". . .the
defendant exercise direct control over its putative agent." Wiwa, 226 F.3d at 95, only the
sufficient importance test without requiring any control over Defendant’s extensive contacts in
New York warrant the exercise of general and personal jurisdiction over the foreign entities of

UBS and EY. Bank Brussels Lambert v. Fia'dler Gonzolez & Rodriguez, 305 F.3d 120, 122 (2’[ld

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Circ. 2002); Burger Kz'ng Corp., v. Rua'zewicz, 471 U.S. 463, 475 (1985); Chloe, 616 F.3d at 169;

Retaz`l Software Servs. Inc., v. Lashlee, 854 F.2d 18, 22 (2“d Circ. 1988).

o Plaintiff has adequately pled breaches of fiduciary duty by alleging the existence of fiduciary
duties owed to Plaintiff and how those duties were breached by the Defendants Clearly, liability
accrues to the Defendants, who, as here, were under a public duty to disclose the material risk
factors in the offering document for CEFL and did not. All that is necessary is that the material
risk factors withheld are such that a reasonable investor might have considered them important in
the making an investment decision. FAC 1111 112, 230, 264, 285, 297-299, 347, 466, 535-537,

546, 714, 738, 750-751, 774-775, 840, 873, 894-896, 908-939.

0 Plaintiff has adequately pled civil conspiracy by alleging underlying torts and further alleging
how and by whom the civil conspiracy was brazenly carried out over an astonishing, decades-
long timeframe. FAC 1111 14-24, 79, 88, 120, 160, 165, 189-190, 211, 277-281, 248-249, 287,
307, 315, 330-332, 346~349, 360, 363, 454, 477, 483-485, 493, 496, 499, 587, 603-604, 610-646,

693, 791, 656-657, 673, 733,740, 742, 814-975.

c Plaintiff has adequately pled unjust enrichment by describing the loss he experienced as a
result of the Defendant’s misconduct of the defendants and that it is against good conscience for
the Defendants to benefit from the upstream flow of billions of dollars of capital Defendants
received from their mutual participation in the financial scheme to defraud Plaintiff and many
other elderly investors. FAC 1111 14-24, 79, 88, 120, 160, 165, 189-190, 211, 248-249, 262, 277-
281, 287, 307, 315, 330-332, 346-349, 360, 363, 372, 454, 477, 483-485, 493, 496, 499, 542,

587, 603-604, 610-646, 693, 791, 656-657, 673, 733, 740, 742, 747, 814-975.

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0 Plaintiff has adequately pled reasonable reliance even though that was not necessarily
necessary. Under § 11, all that is necessary is that the facts withheld from the offering document
be material in the sense that a reasonable investor might have considered them important
regarding whether to invest or not. Mills v. Electric Auto-Lz'te Co., 396 U.S. 375, 384 [90 S.Ct.
616, 621; In re Constar Im"l, Inc. Sec. Lz'lig., 585 F.3d 774, 783 (3d Cir. 2009); Rombach v.
Chang, 355 F.3d 164, 169 n.4 (2d Cir. 2004); Westz`nghouse Elec. Corp. v. ‘21 ’ Int’l Holdz`ngs,
Inc., 821 F. Supp. 212, 218 (S.D.N.Y. 1993); Ahern, 611 F. Supp. at 1479; In re Diasonics Sec.
Ll`tig., 599 F. Supp. 447, 452 (N.D. Cal. 1984). This Black Letter Law requirement for full
disclosure and Defendant’s intentional non-disclosures establish the requisite element of
causation in fact. Chasins v. sz'th, Barney & Co., 438 F.2d [1167] at 1172. The reliance
requirement is not ‘designed to shield perpetrators of fraud by forcing investors to conduct
exhaustive research every time they invest money’. FAC jj 460.’ Terra Securities, 740 F. Supp.
2d at 451 (quoting Alexana’er v. Evans, No. 88 Civ. 5309, 1993 WL 427409, at * 16
(S.D.N.Y.l993), FAC 1111 346-348, 453-454, 482-488, 496-502, 506-541, 656-657. 0 Moreover,
EY’s MTD goes to great lengths to minimize EYs role as UBS’s external auditor, claiming that
only Ernst & Young Ltd., was UBS’s auditor and have replaced the name of UBS’s other audit
entity, Emst & Young LLP with the name EY-US. As described in the FAC 1111 24, 480-482, 490,
Ernst & Young LLP was the auditor of all U.S.-based UBS entities, including CEFL’s
underwriter UBS Securities LLC, and was a lead auditor, along with Ernst & Young Ltd. in the
audit of all UBS foreign entities. Ernst & Young LLP partners co-signed the audit opinion letters
of the UBS foreign entities. EY also claims that EY-Global, Ernst & Young Ltd, and Ernst &
Young LLP have no connection to each other. If that were true, why were EY U.S. partners co-

leading the audit of UBS’s foreign operations along with EY’s foreign partners and why is all of

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the audit fee revenue consolidated into EY-Global financial reporting? The EY non-connection
allegation of its various entities is as absurd as declaring Chevy, Buick and Cadillac are not
connected to GM. GM divisions share resources like engines and engineers, just as EY audit
entities share resources and auditors and consolidate annual fees under the EY-Global umbrella
organization. lt is undisputed that EY-Global partners supervise the partners and operations of all
EY audit entities, FAC 1111 25-30, 490-491. lf EY-Global were not to other EY audit entities what
GM is to its divisions, what is their function? EY is silent. Discovery, which UBS and EY are
desperate to avoid, will prove EY-Global’s true plasticity. 0 Moreover, EY Ltd. and EY LLC
signed UBS AG’s audit establishing alter ego and agency; Bauman v. Daz`mler Chrysler Corp.,
644 F.3d 909, 920 (9th Cir. 2001) holding subsidiary was parent’s agent for purposes of personal
jurisdiction; Burger Kz`ng Corp. v. Rudzewicz, 471 U.S. 462, 475, 105 S. Ct 2174, 85 Led,2d 528
(1985); Schwarzenegger, 374 F.3d at 800; Rutsky & Co. Ins. Servs, lnc. v. Bell & Clements Ltd.,
328 F.3d 1122, 1135 (9th Cir. 2003) agency test. FAC 11 24, 100-102, 104, 114, 317, 458, 461-

462, 480-482, 490, 876, 915, 927.

0 Plaintiff has adequately pled loss causation. The PSLRA requires only a showing of a

". . .causal link between the alleged misconduct and the economic harm ultimately suffered by the
plaintiff" Emergent Capz'tal Inv. Mgmt., LLC v. Stonepath Group, Inc., 343 F.3d 189, 197 (2d
Cir.2003); 15 U.S.C. § 78u-4(b)(4). Loss causation is not subject to the heightened pleading
standards of Rule 9(b) or the PSLRA. In re Cz`z‘z`group lnc. Sec. Litig., 753 F.Supp.2d 206, 234
(S.D.N.Y.2010) ("Loss causation need not be pled with particularity.") Only a plain statement is
required under Rule 8. Loss causation is adequately pled by alleging the materialization of a
concealed risk that caused a stock price decline. Leykin v. AT & T Corp., 423 F.Supp.2d 229, 240

(S.D.N.Y.2006). Where some or all of the risk is concealed by the defendant's omissions, courts
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have found loss causation sufficiently pled Nathel v. Siegal, 592 F.Supp.2d 452, 467
(S.D.N.Y.2008). Plaintiff has adequately pled a causal link between the alleged misconduct and

the economic harm he ultimately suffered Defendants with nothing to hide, hide nothing.

0 Plaintiff has adequately pled UBS manipulation of the CEFL share price: The FAC is replete
with allegations of the intentional omissions of material risk factors from the offering document
for CEFL, FAC 1111 310-359, 364-381, which include reasons for the sharp drop in the CEFL
share price in the face of a soaring market Was the result of (1) securities industry and growing
investor knowledge of UBS’s undisclosed financial crimes, which prompted their failure to
invest and to disinvest in CEFL; (2) the fact that major broker-dealers would not allow their
customers to purchase UBS securities; (3) growing investor knowledge of the sharp drop in other
UBS ETNS; (4) the manipulations and hedging activities of UBS; (5) growing knowledge that
CEFL is a defective security; and (6) the failure of UBS to make a market in CEFL. The FAC jj
98 notes that Bank of America l\/lerrill Lynch only allows its more than 17,3 00 brokers to sell
exchange traded notes (ETN’s) including CEFL to customers with at least $10 million in assets;
Raymond J ames Financial has prohibited its 5,400 brokers from selling ETN’s including CEFL
since 2010. Exhibit M. FAC 1111 87, 99, 189-192, 201-211, 236, 317, 332, 373-374, 446, 458-

460, 469, 541-544, 613-646, 667, 674, 741, 747, 772, 790, 817-976.

0 Plaintiff has adequately pled privity by alleging that the role of public accountants/auditors like
EY is founded on third-party privity. Even more than the public auditors’ client, the investing
public relies on the public auditors’ assurance in its audit opinion letters to assure that the public
auditors’ client has published financial documents including offering documents for securities

that disclose all known material risk factors FAC 1111 551-553, 897-898, 917-919. Courts have

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even established “. . . [a]n exception to third party privity. . .where a known third party’s reliance
was the desired result of the representation.” Robert & Co. Assocs. v. Rhodes-Haverly P ’shz'p,
250 Ga. 680, 681, 300 S.E.2d 503, 504 (1983), in which the Georgia Supreme Court relied on the
Restatement of the Law, Second, Torts, § 5 52, which states, in pertinent part: “One who, in the
course of his business, profession or employment, or in any other transaction in which he has a
pecuniary interest, supplies false information for the guidance of others in their business
transactions, is subject to liability for pecuniary loss caused to them by their justifiable reliance
upon the information, if he fails to exercise reasonable care or competence in obtaining or
communicating the information.” 0 The liability of one who is under a public duty to give the
information extends to loss suffered by any of the class of persons for whose benefit the duty is
created, in any of the transactions in which it is intended to protect them. positive proof of
reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld be
material in the sense that a reasonable investor might have considered them important in the
making of this decision. FAC 1111 248-293, 551-554, 778-780, 790, 797, 835, 843, 849, ,855, 862,

869, 878, 890, 897, 904, 912, 917-927, 920-923, 928, 937, 952, 955, 965.

0 Plaintiff has adequately pled violations of Sections 11 and 12(a)(2) of the Securities Act of
1933: The purpose of an offering document for a newly issued security is to provide accurate and
meaningful material information so that investors can make informed decisions about whether or
not to purchase stock in a particular offering, and to understand the risks inherent in the
investment SEC v. Ralston Purina Co., 346 U.S. 119, 124, 73 S.Ct. 981, 97 L.Ed. 1494 (1953)
(explaining that the purpose of the registration requirements of the Securities Act of 1933 ". . .is
to protect investors by promoting full disclosure of information thought necessary to informed

investment decisions.)" “The Securities Act of 1933 was designed to provide investors with full
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disclosure of material information concerning public offerings of securities in commerce, to
protect investors against fraud and, through the imposition of specified civil liabilities, to
promote ethical standards of honesty and fair dealing." Ernst & Ernst v. Hochfelcler, 425 U.S.
185, 195, 96 S.Ct. 1375, 47 L.Ed.2d 668 (1976) (citing H.R.Rep. No. 85, 73d Cong., 1st Sess., 1-
5 (1933)). Sections 11 and 12 of the Act ". . .give effect to the basic purpose underlying the
Securities Act _ full disclosure to investors of pertinent information concerning the issuers of
securities and the securities themselves _ by imposing strict liability for material
misinformation contained in a registration statement or prospectus." In re Unz`capz`ml Corp. Sec.

Ll`tz'g., 149 F.Supp.2d 1353, 1363 (S.D.Fla.2001).

o Plaintiff has adequately pled liability under Section 11 of the Act that imposes civil liability for
materially misleading registration statements Section 11 provides that: [i]n case any part of the
registration statement, when such part became effective, omitted material risk factors required to
be stated therein or necessary to make the statements therein not misleading, any person
acquiring such security [may] sue every person who signed the registration statement
[and] every underwriter with respect to, such security. 15 U.S.C. § 77k(a). A successful section
11 claim meets two requirements (1)` the defendant has an affirmative duty to disclose the
information but fails to do so, and, (2) the omitted information was material. Milman v. Box Hz`ll
Sys. Corp., 72 F.Supp.2d 220, 227 (S.D.N.Y. 1999). “When assessing whether omissions are
material, courts must consider whether the omissions were material on the date the offering
document was issued." In re Um`capital, 149 F.Supp.2d at 1363. 0 If a plaintiff has purchased a
U.S. registered security issued pursuant to a registration statement, as here, he need only show a
material omission to establish his prima facie case. Liability against the issuer of a security is

virtually absolute, even for innocent misstatements 15 U.S.C. § 77k(b). Here, at least one UBS
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Defendant’s involvement in the omissions resulted in him being awarded a huge bonus FAC jj
259. Also, each of the UBS Defendants own considerable shares of UBS stock and certain of the
UBS Defendants possess large quantities of stock options, FAC 111 14-24. EY has annual audit
fees of at least $83 million on the line, FAC jj 348 and EY partner income is a function of the

audit fees resulting from the audits they supervise.

0 Plaintiff has adequately pled Section 12(a)(2) liability under the Securities Act that imposes
liability on any person who markets securities by means of an offering document that omits
material risk factors 15 U.S.C. § 771; see also Yung v. Lee, 432 F.3d 142, 147 (2d Cir.2005). 0
Unlike claims under other sections of the Securities Act, Sections 11 and 12(a)(2) do not require
a plaintiff to allege scienter or other elements of fraud Rombach v. Chang, 355 F.3d 164, 169 n.
4 (2d Cir.2004); Johns()n v_ Aegon USA, Inc., 355 F. Supp. 2d at 1343 (plaintiff need only allege
the offering document omitted a material risk factor necessary to make the statements therein not
misleading). Ernst & Ernst v. Hochfelder, 425 U.S. 185 (1976)). Accordingly, if there remains
any doubt about scienter, reliance, loss causation or the efficacy or length of the pleadings or
other disputed issues of law, the Court should not dismiss on such highly disputed issues of law
as Defendants have asserted, but instead certify to the 2nd Circuit Court of Appeals all questions
of disputed law. 0 Moreover, under Items 103 and 303 of Regulation S-K, something that is a
"known" or "uncertain" and litigation that the offering party expects will have a "material"
impact on the business must be disclosed in the offering document for a security. 17 C.F.R. §
229.303(a)(3)(ii). At page 67 of its Annual Report for 2015 UBS AG states that its financial
crimes will have a “material” impact on their business FAC jj 651. 0 Proof that Defendants
willfully committed securities fraud lies in the fact that certain of the most critical concealed

material risk factors, such as UBS’s vast criminal history, its four-year term of criminal
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probation, continuing investigations and prospective loss of license to conduct a securities
business in the U.S. are so obvious that the Defendants must have been aware of them. See
Anwar v. Fairjiela’ Greenwich Ll'a’., 728 F. Supp. 2d at 407. 0 Further, since materiality is a
mixed question of law and fact, a Complaint may not properly be dismissed on the ground that
the alleged omissions are not material unless they are so obviously unimportant to a reasonable
investor that reasonable minds could not differ on the question of their importance FAC 11

474. ECA & Local 134 IBEWJoint Pension Trust ofChicago v. JP Morgan Chase Co.,553 F.3d
187, 197 (2d Cir.2009). ln fact, the 2md Circ. Court of Appeals has concluded that plaintiffs are
not responsible for knowing what appears in exhibits to a defendant’s own SEC filings or
contemporaneous news articles, FAC jj 475. In Re Flag Telecom Holdz'ngs Ltd. Sec. Litig., 618
F. Supp. 2d 311, 325 (S.D.N.Y. 2009). In SEC v. Elecl'ronics Warehouse, Inc., 689 F. Supp. 53,
68 (D. Conn. 1988) the failure of an attorney to mention the criminal conviction of the seller for
mail fraud in an offering document was considered reckless as a matter of law. The court found
that counsel to the underwriter had a duty to disclose in the offering document that the issuer had
been indicted for mail fraud See also Goldman v. McMahan, Brafman, Morgcm & Co., 706 F.
Supp. 256, 259 (S.D.N.Y. 1989), where "An egregious refusal to see the obvious, or to
investigate the doubtful, may in some cases give rise to an inference of recklessness." 0 ln
Spielman v. General Host Corp., 538 F.2d 39, 40 n. 2 (2d Cir. 1976) the court found as a matter
of law that a disclosure in a prospectus’s appendix did not cure a misleading impression in the
main body of the prospectus Smallwooa' v. Pearl Brewing Co., 489 F.2d 579, 603 (5th Cir.)
Material facts buried 100s of pages deep in a foreign bank’s voluminous annual report deprived

Plaintiff of full and honest disclosure Werner v. Werner, 267 F.3d 288 (3d Cir. Pa. 2001).

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CONCLUSION

Defendant’s do not deny justice requires the revocation of UBS’s license to conduct a
securities business in the U.S. Failure to revoke is akin to handing the keys to Fort Knox to
Willie Sutton and Al Capone Similarly, to ignore UBS’s failure to disclose its serious financial
crimes and EY and Schwab’s roles in aiding and abetting those egregious failures will encourage
the UBS to intensify their evasions of the rule of U.S. securities law and obviate the need for fiill
disclosure of material risk factors in offering documents That EY closed its eyes to UBS
criminal conduct does not mean UBS’s crimes went unseen and now Defendants have been fully
informed of the charges against them. UBS’s crimes and failures to disclose material facts are
numerous the ETN scheme complex and the laws governing these, at times, arcane, all of which
required an elaborate FAC that has thoroughly obviated the Defendant’s MTDs with a
compelling account of how the Defendants, singularly and in unison, concocted and weaponized
a complex ETN financial security scheme that ultimately defrauded Plaintiff and many others lt
also sets out facts sufficient to show that UBS has conducted its operations much like Madoff
did, using their well-developed criminal expertise to line their pockets by relieving elderly
investors of their retirement savings Given the pleadings set out in the FAC and Opposition, the
MTDS should be denied in their entirety with prejudice Eminence Capital L.L. C., 316 F.3d
1048, 1052-53 (9th Cir. 2003) and Bare Escentuals, 745 F. Supp. 2d at 1083 and Fed. R. Civ. P.
15(a) dictate that “leave to amend be freely given when justice so requires.”

Respectfully signed and submitted by First Class Mail on: March 20, 2018

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